Case 1:19-cr-00144-AKH Document 67 Filed 03/13/20 Page 1 of 30

 

 

UNITED STATES DISTRICT COURT IELECTRONICALLY FILED

SOUTHERN DISTRICT OF NEW YORK |

 

 

 

ee ee LL LL LL LLL Ln x
UNTTED STATES OF AMERICA I
~y.-

TARECK ZAIDAN EL AITSSAMI MADDAH,

a/k/a “Tareck El Aissami,”

a/k/a “El Troupial,” : SUPERSEDING INDICTMENT

a/k/a “Tango Alpha,”

a/k/a “T.E.A,,” : S5 19 Cr. 144 (AKH)

JOSELIT RAMIREZ CAMACHO,
a/k/a “J.L.,”
a/k/a “Jose Lit,” and
SAMARK JOSE LOPEZ BELLO,
a/k/a “Samark Lopez Delgado,”:
a/k/a “Sierra Lima,”

Defendants.

a COUNT ONE
(Conspiracy to Defraud the United States)

The Grand Jury charges:
Overview

1. Beginning in or about February 2017, up to and
including in or about March 2019, Venezuelan officiais TARECK
ZAIDAN EL AISSAMI MADDAH, a/k/a “Tareck El Aissami,” a/k/a “EL
Troupial,” a/k/a “Tango Alpha,” a/k/a “T.E.A.," and JOSELIT
RAMIREZ CAMACHO, a/k/a “J.L.,” a/k/a “Jose Lit,” the defendants,
and their associates, including SAMARK JOSE LOPEZ BELLO, a/k/a

“Samark Lopez Delgado,” a/k/a “Sierra Lima,” the defendant, worked

 
Case 1:19-cr-00144-AKH Document 67 Filed 03/13/20 Page 2 of 30

together and with others to defraud the U.S. Department of the
Treasury’s Office of Foreign Assets Control (“OFAC”), violate and
evade sanctions imposed by OFAC pursuant to the International
Emergency Economic Powers Act (“IEEPA”’) and the Foreign Narcotics
Kingpin Designation Act (the “Kingpin Act”), and launder funds
used in transactions that violated OFAC'S sanctions.

2. In comnection with the unlawful scheme to defraud
OFAC, and to violate and evade OFAC’s sanctions targeting
Venezuela’s de Facto ruler Nicolas Maduro Moros, TARECK ZAIDAN EL
AISSAMI MADDAH, a/k/a “Tareck El Aissami,” a/k/a “El Troupial,”
a/k/a “Tango Alpha,” a/k/a “T.E.A.,” and JOSELIT RAMIRE4Z CAMACHO,
a/k/a “J.L.,” a/k/a “dose Lit,” the defendants, and others known
and unknown, used U.S.-based companies to charter private flights,
including at times on U.S.-registered aircraft, in connection with
Maduro Moros’ 2018 campaign for the Venezuelan presidency,
including flights for EL ATSSAMI MADDAH, who was at the time the
vice president of Venezuela and also an OFAC-sanctioned Specially
Designated Narcotics Trafficker. Although Maduro Moros claimed to
have won the May 2018 presidential election in Venezuela, more
than 50 countries, including the United States, subsequently
refused to recognize Maduro Moros as the Venezuelan head of state.

Tn or about 2019, the National Assembly of Venezuela invoked the

 

 
Case 1:19-cr-00144-AKH Document 67 Filed 03/13/20 Page 3 of 30

Venezuelan constitution and declared that Maduro Moros had usurped
power and was not the president of Venezuela.

3. Tn connection with the unlawful scheme to defraud
OFAC, and to violate and evade OFAC’s sanctions targeting
Venezuelan vice president TARECK ZATDAN EL ATSSAMI MADDAH, a/k/a
“Tareck El Aissami,” a/k/a “El Troupial,” a/k/a “Tango Alpha,”
a/k/a “T.FE.A.,” and SAMARK JOSE LOPEZ BRLLO, a/k/a “Samark Lopez
Delgado,” a/k/a “Sierra Lima,” the defendants, EL AISSAMI MADDAH,
LOPEZ BELLO, and JOSELIT RAMIREZ CAMACHO, a/k/a “J.L.,” a/k/a “Jose
Lit,” the defendants, and others known and unknown, used U.S.~
based companies to charter private flights, including at times on
U.S.-registered aircraft, for EL AISSAMI MADDAH and LOPEZ BELLO in
connection with travel in and between, among other places,
Venezuela, Russia, Turkey, and the Dominican Republic.

4. In connection with the unlawful scheme to defraud
OFAC, and to violate and evade OFAC’s sanctions, TARECK ZAIDAN EL
AISSAMI MADDAH, a/k/a “Tareck El Aissami,” a/k/a “El Troupial,”
a/k/a “Tango Alpha,” a/k/a “T.E.A.,” JOSELIT RAMIREZ CAMACHO,
a/k/a “J.L.," a/k/a “dose Lit,” and SAMARK JOSE LOPEZ BELLO, a/k/a
“Samark Lopez Delgado,” a/k/a “Sierra Lima,” the defendants, paid
U.S. persons and U.S.-based companies for private flights and other

flight—-related services by, among other means, using associates to

 

 
Case 1:19-cr-00144-AKH Document 67 Filed 03/13/20 Page 4 of 30

deliver bulk cash in Caracas, Venezuela to be smuggled into the
United States.

The Defendants and Related Entities

 

5. TARECK ZAIDAN EL AISSAMI MADDAH, a/k/a “Tareck El
Aissami,” a/k/a “El Troupial,” a/k/a “Tango Alpha,” a/k/a
“T.ELA.,” the defendant, is a Venezuelan citizen and, as of in or
about March 2020, the purported vice president for the Economy of
Venezuela. EL AISSAMI MADDAH previously acted as the Venezuelan
Minister of Industry and National Production in or about 2019, the
vice president of Venezuela between in or about 2017 and in or
about 2018, the Governor of Venezuela’s Aragua State between in or
2012 and an or about 2017, and the Venezuelan Minister of the
Interior and Justice between in or 2008 and in or about 2012. In
or about July 2019, U.S. Tmmigration and Customs Enforcement named
EL AISSAMI one of its top-10 most wanted fugitives based on the
then-pending charges in this case.

6. JOSELIT RAMIREZ CAMACHO, a/k/a “J.L.,"% a/k/a “dose
hit,” the defendant, is a Venezuelan citizen and, since in or about
June 2018, the Superintendent of Cryptocurrencies for Venezuela,
which is referred to as “Sunacrip.” Suncacrip oversees Venezuela’s
virtual currency, the “Petro,” which is purportedly backed by the
country’s oil and mineral reserves. In or about March 2018,

President Donald Trump issued Executive Order 13827 pursuant to

 

 
Case 1:19-cr-00144-AKH Document 67 Filed 03/13/20 Page 5 of 30

IEEPA, among other statutes, that barred U.S. persons from
participating in transactions involving any “digital currency,
digital coin, or digital token” issued by Venezuela’s government.
7. SAMARK JOSE LOPEZ BELLO, a/k/a “Samark Lopez
Delgado,” a/k/a “Sierra Lima,” the defendant, is a Venezuelan
citizen and businessman with ties to TARECK ZAIDAN EL AISSAMI
MADDAH, a/k/a “Tareck El Aissami,” the defendant, and other
Venezuelan politicians. According to filings with the U.S.
Department of Homeland Security, LOPEZ BELLO has acted at various
times relevant to the charges herein as an executive of, among
other entities, the Florida corporation PYP International LLC; PYP
International LLC’s Venezuelan affiliate, Profit Corporation C.A.;
and PYP International LLC’s Panamanian affiliate, Yakima Trading
Corporation. In or about July 2019, U.S. Immigration and Customs
Enforcement named LOPEZ BELLO one of its top-10 most wanted
fugitives based on the then-pending charges in this case.

The International Emergency Economic Powers Act

 

8. In 1977, Congress enacted the International
Emergency Economic Powers Act, codified at Title 50, United States
Code, Sections 1701-1706. The ITEEPA confers upon the President

authority to deal with any “unusual and extraordinary threat” to

 
Case 1:19-cr-00144-AKH Document 67 Filed 03/13/20 Page 6 of 30

the “national security, foreign policy, or economy of the United
States.” 50 U.S.C. § 1701{fa).

9, In March 2015, President Barack Obama issued
Executive Order 13692 pursuant to the IEBEPA, among other statutes.
The Executive Order gave the Secretary of the Treasury, in
consultation with the Secretary of State, the authority to target
persons involved in “actions or policies undermining democratic
processes or institutions’; “significant acts of violence or
conduct that constitutes a serious abuse’ or violation of human
rights, including against persons involved in antigovernment
protests in Venezuela in or since February 2014"; “actions that
prohibit, limit, or penalize the exercise of freedom of expression
or peaceful assembly”; and “public corruption by senior officials
within the Government of Venezuela.”

10. In July 2015, OFAC issued regulations implementing
Executive Order 13692 (the “Venezuela Sanctions Regulations”),
Title 31, Code of Federal Regulations, Part 591.

11. The IEEPA, Executive Order 13692, and corresponding
Venezuela Sanctions Regulations block, among other things, ail
property and interests in property within the United States, or
within the possession or control of any U.S. person, of persons
identified in the Annex to, or designated pursuant to, Executive

Order 13692.

 

 
Case 1:19-cr-00144-AKH Document 67 Filed 03/13/20 Page 7 of 30

12. Unless otherwise authorized or exempted by law,
license, or regulation, the IBEPA, Executive Order 13692, and the
Venezuela Sanctions Regulations prohibit, among other things:

a. Transactions and dealings by U.S. persons, or
within the United States, in property or interests in property of
individuals listed in, or designated pursuant to, Executive Order
13692. See Executive Order 13692 § l(a); 31 C.F.R. §§ 591.201,
591.301.

b, Services performed by U.S. persons, wherever
located, for the benefit of individuals listed in, or designated
pursuant to, Executive Order 13692. See Executive Order 13692
§§ l(a), 4(a); 31 C.F.R. §§ 591.201, 591.309.

c. Transactions and dealings by U.S. persons, or
within the United States, that evade or avoid, or have the effect
of evading or avoiding, any of the prohibitions of the IREPA and
the Venezuela Sanctions Regulations. See 50 U.S.C. § 1705(a);
Bxecutive Order 13692 § 5{a); 31 C.F.R. § 591.201.

d. Conspiracies and attempts to violate any of
the prohibitions of the IEEPA, Executive Order 13692, and the
Venezuela Sanctions Regulations. See 50 U.S.C. § 1705(a);

Executive Order 13692 § 5(b}; 31 C.F.R. § 591.201.

 

 
Case 1:19-cr-00144-AKH Document 67 Filed 03/13/20 Page 8 of 30

The Foreign Narcotics Kingpin Designation Act

 

13. In 1999, Congress passed the Kingpin Act, Title 21,
United States Code, Chapter 32, to apply economic and other
financial sanctions in response to “a national emergency resulting
from the activities of international narcotics traffickers and
their organizations that threatens the national security, foreign
policy, and economy of the United States.” 21 U.S.C. § 1901 (a) (4).

14. In 2000, OFAC implemented the Kingpin Act by
promulgating the Foreign Narcotics Kingpin Sanctions Regulations
{the “Kingpin Act Regulations”), Title 31, Code of Federal
Regulations, Part 598.

15. The Kingpin Act and corresponding Kingpin Act
Regulations block, among other things, all property and interests
in property within the United States, or within the possession or
control of any U.S. person, which are owned or controlled by
foreign persons designated by OFAC as “Specially Designated
Narcotics Traffickers,” or “SDNTs.” 21 U.S.C. §$ 1904 (b); 31 C.F.R.
§§ 598.202, 598.301.

16. Unless otherwise authorized or exempted by law,
license, or regulation, the Kingpin Act and the Kingpin Act
Regulations prohibit, among other things:

a. Transactions and dealings by U.S. persons, or

within the United States, in property or interests in property of

 
Case 1:19-cr-00144-AKH Document 67 Filed 03/13/20 Page 9 of 30

Specially Designated Narcotics Traffickers. See 21 U.S.C.
§ 1904(c) (1); 31 C.F.R. § 598.203 (a}.

b. Services performed by U.S. persons, wherever
located, on behalf of or for the benefit of Specially Designated
Narcotics Traffickers or with respect to property interests of
Specially Designated Narcotics ‘Traffickers. see 21 U.S.C.
§ 1904(c) (1); 31 C.P.R. $§ 598.203, 598.406(a).

c. Transactions and dealings by U.S. persons, ofr
within the United States, that evade or avoid, or have the effect
of evading or avoiding, any of the prohibitions of the Kingpin Act
and the Kingpin Act Regulations. See 21 U.S.C. § 1904(c)}{2); 31
CFR. § 598.204.

d. Any endeavor, attempt, or conspiracy to violate any
of the prohibitions of the Kingpin Act and the Kingpin Act

Regulations. See 21 U.S.C. § 1904(c¢) (2); 31 C.F.R. § 598.204.

OFAC’s February 2017 SDNT Designation
Pursuant to the Kingpin Act

 

 

17. On or about February 13, 2017, OFAC announced that
it had designated TARECK ZAIDAN EL AISSAMI MADDAH, a/k/a “Tareck
EL Aissami,” a/k/a “El Troupial,” a/k/a “Tango Alpha,” a/k/a
“TLE.A.,” and SAMARK JOSE LOPEZ BELLO, a/k/a “Samark Lopez
Delgado,” a/k/a “Sierra Lima,” the defendants, as Specially

Designated Narcotics Traffickers pursuant to the Kingpin Act. In

 

 

 
Case 1:19-cr-00144-AKH Document 67 Filed 03/13/20 Page 10 of 30

the same announcement, OFAC designated as SDNTs 13 related
companies, including Profit Corporation C.A. and Yakima Trading
Corporation.

18. OFAC explained in the February 13, 2017
announcement, that “U.S. persons are generally prohibited from
engaging in transactions or otherwise dealing with” TARECK 4AIDAN
EL AISSAMT MADDAH, a/k/a “Tareck El Aissami,” a/k/a “El Troupial,”
a/k/a “Tango Alpha,” a/k/a “T.E.A.,” and SAMARK JOSE LOPEZ BELLO,
a/k/a “Samark Lopez Delgado,” a/k/a “Sierra Lima,” the defendants,
and that “any assets the individuals and entities may have under
U.S. jurisdiction are frozen.”

OFAC’'s July 2017 SDN Designation of Maduro
Pursuant to Executive Order 13692

 

 

19. On or about July 31, 2017, OFAC announced that it
had designated then-president of Venezuela Nicolas Maduro Moros,
pursuant to Executive Order 15692. OFAC noted in the announcement
that the “sanctions come a day after the Maduro government held
elections for a National Constituent Assembly . . . that aspires
illegitimately to usurp the constitutional role of the
democratically elected National Assembly, rewrite the
constitution, and impose an authoritarian regime on the people of

Venezuela.”

10

 

 

 
Case 1:19-cr-00144-AKH Document 67 Filed 03/13/20 Page 11 of 30

20. OFAC also explained in the July 31, 2017
announcement, that “all assets of Nicolas Maduro subject to U.S.
jurisdiction are frozen, and U.S. persons are prohibited from
dealing with him.”

STATUTORY ALLEGATIONS

 

21. From at least in or about February 2017, up to and
including in or about March 2019, in the Southern District of New
York, Venezuela, Turkey, Russia, the Dominican Republic, and
elsewhere, and in an offense begun and committed out of the
jurisdiction of any particular State or district of the United
States, TARECK ZAIDAN EL AISSAMI MADDAH, a/k/a “Tareck Fl Aissami,”
a/k/a “Bl Troupial,” a/k/a “Tango Alpha,” a/k/a “T.EB.A.,”% JOSELIT
RAMTRE4 CAMACHO, a/k/a “J.1.,”" a/k/a “Jose Lit,” and SAMARK JOSE
LOPEZ BELLO, a/k/a “Samark Lopez Delgado,” a/k/a “Sierra Lima,”
the defendants, and others known and unknown, at least one of whom
is expected to be first brought to and arrested in the Southern
District of New York, knowingly combined, conspired, confederated,
and agreed together and with each other to defraud the United
States and an agency thereof, to wit, the U.S. Department of the
Treasury and OFAC.

22. Tt was a part and an object of the conspiracy that
TARECK ZAIDAN EL AISSAMI MADDAH, a/k/a “Tareck El Aissami,” a/k/a

“El Troupial,” a/k/a “Tango Alpha,” a/k/a “T.E.A.,” and JOSELIT

11

 
Case 1:19-cr-00144-AKH Document 67 Filed 03/13/20 Page 12 of 30

RAMIREZ CAMACHO, a/k/a “J.L.,”" a/k/a “Jose Lit,” the defendants,
and others known and unknown, would and did defraud the United
States by impairing, obstructing, and defeating the Lawful
functions of the Treasury Department and OFAC, to wit, by engaging
in transactions and obtaining services in violation of the IEEPA,
Executive Order 13692, and the Venezuelan Sanctions Regulations.

23. it was a further part and an object of the
conspiracy that TARECK ZATDAN EL AISSAMI MADDAH, a/k/a “Tareck El
Aissami,” a/k/a “El Troupial,” a/k/a “Tango Alpha,” a/k/a
“DEAL,” JOSELIT RAMIREZ CAMACHO, a/k/a “J.L.,”% a/k/a “Jose Lit,”
SAMARK JOSE LOPEZ BELLO, a/k/a “Samark Lopez Delgado,” a/k/a
“Sierra Lima,” the defendants, and others known and unknown, would
and did defraud the United States by impairing, obstructing, and
defeating the lawful functions of the Treasury Department and OFAC,
to wit, by engaging in transactions and obtaining services in
violation of the Kingpin Act and the Kingpin Act Regulations.

Overt Acts

24, In furtherance of the conspiracy and to effect the
illegal objects thereof, TARECK ZAIDAN EL AISSAMI MADDAH, a/k/a
“Tareck El Aissami,” a/k/a “El Troupial,” a/k/a “Tango Alpha,”
a/k/a “T,.E.A.,” JOSELIT RAMIREZ CAMACHO, a/k/a “J.L.,% a/k/a “Jose

Lit,” SAMARK JOSE LOPEZ BELLO, a/k/a “Samark Lopez Delgado,” a/k/a

2

 
Case 1:19-cr-00144-AKH Document 67 Filed 03/13/20 Page 13 of 30

“Sierra Lima,” the defendants, and their co-conspirators committed
the following overt acts, among others:

a. In or about March 2018, RAMIREZ CAMACHO and others
helped arrange private charters for EL AISSAMI MADDAH and others
to travel within Venezuela to attend campaign rallies related to
Maduro Moros'’s presidential campaign. The flights also sometimes
transported campaign materials and supplies in support of Maduro
Moros’ s campaign.

b. In or about July 2018, RAMIRE? CAMACHO worked with
others to smuggle bulk cash from Simén Bolivar International
Airport in Maiquetia, Venezuela to the United States, which related
to services provided to EL AISSAMI MADDAH and LOPEZ BELLO.

c. In or about September 2018, LOPEZ BELLO took a
private flight on a U.S.-registered aircraft from the Dominican
Republic to Venezuela.

d. In or about February 2019, EL AISSAMI MADDAH
traveled from Venezuela to Russia, via Turkey, for one or more
meetings with Russian officials.

e. In or about March 20193, RAMIREZ CAMACHO instructed
a U.S. person to open a bank account and incorporate a business
entity in Istanbul, Turkey, to be used in the scheme to avoid and
evade OFAC'’s sanctions.

(Title 18, United States Code, Sections 371 and 3238.)

13

 
Case 1:19-cr-00144-AKH Document 67 Filed 03/13/20 Page 14 of 30

COUNT TWO

(Conspiracy to Violate the International
Emergency Economic Powers Act)

The Grand Jury further charges:

25. The allegations contained in paragraphs 1 through
20 and 24 of this Superseding Indictment are hereby repeated,
realieged, and incorporated by reference as if fully set forth
herein. |

26. From at least in or about February 2017, up to and
including in or about March 2019, in the Southern District of New
York, Venezuela, Turkey, Russia, the Dominican Republic, and
elsewhere, and in an offense begun and committed out of the
jurisdiction of any particular State or district of the United
States, TARECK ZAIDAN EL AISSAMI MADDAH, a/k/a “Tareck Kl Aissami,”
a/k/a “El Troupial,” a/k/a “Tango Alpha,” a/k/a “T.E.A.,” and
JOSELIT RAMIRE4 CAMACHO, a/k/a “J.L.,”% a/k/a “Jose Lit,” the
defendants, and others known and unknown, at least one of whom is
expected to be first brought to and arrested in the Southern
District of New York, knowingly and wilifully did combine,
conspire, confederate, and agree together and with each other to
violate, and to cause a violation of, licenses, orders,

regulations, and prohibitions issued under the International

14

 

 
Case 1:19-cr-00144-AKH Document 67 Filed 03/13/20 Page 15 of 30

Emergency Economic Powers Act, codified at Title 50, United States
code, Sections 1701-1706,

27. It was a part and an object of the conspiracy that
TARECK ZAIDAN EL AISSAMI MADDAH, a/k/a “Tareck El Aissami,” a/k/a
“El Troupial,” a/k/a “Tango Alpha,” a/k/a “T.E.A.,” and JOSELIT
RAMIREZ CAMACHO, a/k/a “J.L.,"% a/k/a “Jose Lit,” the defendants,
and others known and unknown, would and did provide and cause
others to provide services to benefit a person designated as a
Specially Designated National by OFAC, to wit, private charter
services for the benefit of Nicolas Maduro Moros in connection
with efforts to maintain control in Venezuela, in violation of 50
U.S.C. § 1705(a), 31 C.FLR. §$§ 591.201, and Executive Order 13692.

28. It was further a part and an object of the
conspiracy that TARECK ZAIDAN EL AITSSAMT MADDAH, a/k/a “Tareck EL
Aissami,” a/k/a “El Troupial,” a/k/a “Tango Alpha,” a/k/a
‘“T.BE.A.,” and JOSELIT RAMIREZ CAMACHO, a/k/a “J.L.,"% a/k/a “Jose
Lit,” the defendants, and others known and unknown, would and did
evade and avoid, and attempt to evade and avoid, the requirements
of U.S. law with respect to the provision of services to Nicolas
Maduro Moros, to wit, private charter services for the benefit of
Maduro Moros in connection with efforts to maintain control in
Venezuela, in violation of 50 U.S.C. § 1705(a), 31 C.F.R.

§§ 591.201, and Executive Order 13692.

15

 
Case 1:19-cr-00144-AKH Document 67 Filed 03/13/20 Page 16 of 30

(Title 50, United States Code, Section 1705;
Title 18, United States Code, Section 3238;
Executive Order 13692; Title 31, Code of Federal Regulations,
Sections 591,201, 591.301, and 591.309.)

COUNT THREE
(Conspiracy to Commit Money Laundering)

The Grand Jury further charges:

29. The allegations contained in paragraphs 1 through
20 and 24 of this Superseding Indictment are hereby repeated,
realleged, and incorporated by reference as if fully set forth
herein.

30. From at least in or about February 2017, up to and
including in or about March 2019, in the Southern District of New
York, Venezuela, Turkey, Russia, the Dominican Republic, and
elsewhere, and in an offense begun and committed out of the
jurisdiction of any particular State or district of the United
States, TARECK ZAIDAN EL AISSAMT MADDAH, a/k/a “Tareck El Aissami,”
a/k/a “El Troupial,” a/k/a “Tango Alpha,” a/k/a “T.EB.A.,”% and
JOSELIT RAMIREZ CAMACHO, a/k/a “J.L.,” a/k/a “Jose Lit,” the
defendants, and others known and unknown, at least one of whom is
expected to be first brought to and arrested in the Southern
District of New York, knowingly and intentionally combined,
conspired, confederated, and agreed together and with each other,
to commit money laundering offenses in violation of Title 18,

United States Code, Section 1956.

16

 
Case 1:19-cr-00144-AKH Document 67 Filed 03/13/20 Page 17 of 30

31. It was a part and an object of the conspiracy that
TARECK ZAIDAN EL AITSSAMI MADDAH, a/k/a “Tareck El Aissami,” a/k/a
“El Troupial,” a/k/a “Tango Alpha,” a/k/a “T.E.A.,” and JOSELIT
RAMIREZ CAMACHO, a/k/a “J.L.,”% a/k/a “Jose Lit,” the defendants,
and others known and unknown, in an offense involving and affecting
interstate and foreign commerce, knowing that the property
involved in certain financial transactions represented the
proceeds of some form of unlawful activity, would and did conduct
and attempt to conduct such financial transactions which in fact
involved the proceeds of specified unlawful activity, to wit,
transactions and services in violation of section 206 of the IEFEPA,
knowing that the transactions were designed in whole and in part
to conceal and disguise the nature, location, source, ownership,
and control of the proceeds of said specified unlawful activity,
in violation of Title 18, United States Code, Section
1956(a) (1) (B) (i).

32. It was further a part and an object of the
conspiracy that TARECK ZATDAN EL AISSAMI MADDAH, a/k/a “Tareck El
Aissami,” a/k/a “El Troupial,” a/k/a “Tango Alpha,” a/k/a
“T.E.A.,”% and JOSELIT RAMIREZ CAMACHO, a/k/a “J.L.," a/k/a “Jose
Lit,” the defendants, and others known and unknown, in an offense
involving and affecting interstate and foreign commerce, would and

did transport, transmit, and transfer, and attempt to transport,

1?

 
Case 1:19-cr-00144-AKH Document 67 Filed 03/13/20 Page 18 of 30

transmit, and transfer, a monetary instrument and funds from a
place in the United States to and through a place outside the
United States and to a place in the United States from and through
a place cutside the United States, with the intent to promote the
carrying on of specified unlawful activity, to wit, transactions
and services in violation of section 206 of the IEEPA, in violation
of Title 18, United States Code, Section 1956(a) (2) (A).
(Title 18, United States Code, Sections 1956(h) and 3238.)
COUNT FOUR
(Conspiracy to Violate and Evade the Foreign Narcotics Kingpin
Designation Act and the Kingpin Act Regulations)

The Grand Jury further charges:

33. The allegations contained in paragraphs 1 through
20 and 24 of this Superseding Indictment are hereby repeated,
realleged, and incorporated by reference as if fully set forth
herein.

34. From at least in or about February 2017, up to and
including in or about March 2019, in the Southern District of New
York, Venezuela, Turkey, Russia, the Dominican Republic, and
elsewhere, and in an offense begun and committed out of the
jurisdiction of any particular State or district of the United
States, TARECK ZAIDAN EL AISSAMIT MADDAH, a/k/a “Tareck El Aissami,”
a/k/a “El Troupial,” a/k/a “Tango Alpha,” a/k/a “T.E.A.,” JOSELIT

RAMIREY’Z CAMACHO, a/k/a “J.L.,” a/k/a “Jose Lit,” and SAMARK JOSE

18

 

 

 
Case 1:19-cr-00144-AKH Document 67 Filed 03/13/20 Page 19 of 30

LOPEZ BELLO, a/k/a “Samark Lopez Delgado,” a/k/a “Sierra Lima,”
the defendants, and others known and unknown, at least one of whom
is expected to be first brought to and arrested in the Southern
District of New York, willfully combined, conspired, confederated,
and agreed together and with each other to violate one or more of
the provisions of the Kingpin Act and the Kingpin Act Regulations.

35. It was a part and an object of the conspiracy that
TARECK 4ZATDAN EL AISSAMI MADDAH, a/k/a “Tareck El Aissami,” a/k/a
“El Troupial,” a/k/a “Tango Alpha,” a/k/a “T.E.A.,”% JOSELIT
RAMEREZ CAMACHO, a/k/a “J.L.,” a/k/a “dose Lit,” and SAMARK JOSE
LOPEZ BELLO, a/kyYa “Samark Lopez Delgado,” a/k/a “Sierra Lima,”
the defendants, and others known and unknown, would and did engage
and attempt to engage in transactions and dealings by a United
States person, and within the United States, in property and
interests in property of one or more foreign persons designated as
Specially Designated Narcotics Traffickers by the Secretary of the
Treasury pursuant to Title 21, United States Code, Section 1904 (b),
to wit, EL ATSSAMIT MADDAH and LOPE4 BELLO, in violation of Title
21, United States Code, Section 1904(c){1), and Title 31, Code of
Federal Regulations, Sections 598.203(a} and 598.406.

36. It was further a part and an object of the
conspiracy that TARECK ZAIDAN EL AISSAMI MADDAH, a/k/a “Tareck El

Aissami,” a/k/a “El Troupial,” a/k/a “Tango Alpha,” a/k/a

19

 
Case 1:19-cr-00144-AKH Document 67 Filed 03/13/20 Page 20 of 30

“PLELA.,” JOSELIT RAMIREZ CAMACHO, a/k/a “J.L.,” a/k/a “Jose Lit,”
and SAMARK JOSE LOPEZ BELLO, a/k/a “Samark Lopez Delgado,” a/k/a
“Sierra Lima,” the defendants, and others known and unknown, would
and did engage and attempt to engage in transactions and dealings
by a United States person, and within the United States, that
evaded and avoided, and had the effect of evading and avoiding,
one or more of the prohibitions contained in the Kingpin Act, in
violation of Title 21, United States Code, Section 1904(c} (2), and
Title 31, Code of Federal Regulations, Section 598.204.

37. It was further a part and an object of the
conspiracy that TARECK ZAIDAN EL AISSAMT MADDAH, a/k/a “Tareck EL
Aissami,” a/k/a “El Troupial,” a/k/a “Tango Alpha,” a/k/a
“T | ELA.,” JOSELIT RAMIREZ CAMACHO, a/k/a “J.L.," a/k/a “Jose Lit,”
and SAMARK JOSE LOPEZ. BELLO, a/k/a “Samark Lopez Delgado,” a/k/a
“Sierra Lima,” the defendants, and others known and unknown, would
and did engage and attempt to engage in transactions and dealings
by one or more United States persons who were officers, directors,
and agents of an entity -- to wit, agents of American Charter
Services LLC and SVMI Solution LLC -- and within the United States,
in property and interests in property of one or more foreign
persons designated as Specially Designated Narcotics Traffickers
by the Secretary of the Treasury pursuant to Title 21, United

States Code, Section 1904{b), to wit, EL ATSSAMT MADDAH and LOPEZ

20

 
Case 1:19-cr-00144-AKH Document 67 Filed 03/13/20 Page 21 of 30

BELLO, in violation of Title 21, United States Code, Sections
1904(c) (1) and 1906(a) (2), and Title 31, Code of Federal
Regulations, Sections 598.203(a) and 598.406,

38. It was further a part and an object of the
conspiracy that TARECK ZAITDAN EL AISSAMI MADDAH, a/k/a “Tareck Bl
Aissami,” a/k/a “El Troupial,” a/k/a “Tango Alpha,” a/k/a
“T ELA.,” JOSELIT RAMIREZ CAMACHO, a/k/a “J.L.,” a/k/a “Jose Lit,”
and SAMARK JOSE LOPEZ BELLO, a/k/a “Samark Lopez Delgado,” a/k/a
“Sierra Lima,” the defendants, and others known and unknown, would
and did engage and attempt to engage in transactions and dealings
by one or more United States persons who were officers, directors,
and agents of an entity -- to wit, agents of American. Charter
Services LLC and SVMI Solution LLC -- and within the United States,
that evaded and avoided, and had the effect of evading and
avoiding, one or more of the prohibitions contained in the Kingpin
Act, in violation of Title 21, United States Code, Sections
1904 {(c) {2} and 1906(a} (2), and Title 31, Code of Federal
Regulations, Section 598.204.

(Title 21, United States Code, Sections 1904(c)(1)-(2) and
1906{a} (1)-(2); Taitie 18, United States Code, Section 3238;

Titie 31, Code of Federal Regulations, Sections 598.203 (a),
598.204, and 598.406.}

21

 
Case 1:19-cr-00144-AKH Document 67 Filed 03/13/20 Page 22 of 30

COUNT FIVE
{Prohibited Transactions in Violation of the Kingpin Act and the
Kingpin Act Regulations)

The Grand Jury further charges:

39, The allegations contained in paragraphs i through
20 and 24 of this Superseding Indictment are hereby repeated,
realleged, and incorporated by reference as if fully set forth
herein.

40. From at least in or about February 2017, up to and
including in or about March 2019, in the Southern District of New
York, Venezuela, Turkey, Russia, the Dominican Republic, and
elsewhere, and in an offense begun and committed out of the
jurisdiction of any particular State or district of the United
States, TARECK ZAIDAN EL AISSAMI MADDAH, a/k/a “Tareck El Aissami,”
a/k/a “El Troupial,” a/k/a “Tango Alpha,” a/k/a “T.E.A.,” JOSELIT
RAMIREZ CAMACHO, a/k/a “J.L.,"% a/k/a “Jose Lit,” and SAMARK JOSE
LOPEZ BELLO, a/k/a “Samark Lopez Delgado,” a/k/a “Sierra Lima,”
the defendants, at least one of whom is expected to be first
brought to and arrested in the Southern District of New York,
willfully engaged, attempted to engage, and aided, abetted, and
caused others to engage and attempt to engage in transactions and
dealings by one or more United States persons who were officers,

directors, and agents of an entity -- to wit, an agent of American

22

 
Case 1:19-cr-00144-AKH Document 67 Filed 03/13/20 Page 23 of 30

Charter Services LLC -- and within the United States, in property
and interests in property of one or more foreign persons designated
as Specially Designated Narcotics Traffickers by the Secretary of
the Treasury pursuant to Title 21, United States Code, Section
1904{(b), to wit, EL AITSSAMI MADDAH and LOPEZ BELLO.
{Title 21, United States Code, Sections 1904({c} (1) and
1906(a) (2); Title 18, United States Code, Sections 3238 and 2;
and Title 31, Code of Federal Regulations, Sections 598,203 (a)

and 598,406.)

COUNT SIX
(Evasion of the Kingpin Act and the Kingpin Act Regulations)

The Grand Jury further charges:

41. The allegations contained in paragraphs 1 through
20 and 24 of this Superseding Indictment are hereby repeated,
realleged, and incorporated by reference as if fully set forth
herein.

42. From at least in or about February 2017, up to and
including in or about March 2019, in the Southern District of New
York, Venezuela, Turkey, Russia, the Dominican Republic, and
elsewhere, and in an offense begun and committed out of the
jurisdiction of any particular State or district of the United -
States, TARECK ZAIDAN EL AISSAMI MADDAH, a/k/a “Tareck El Aissami,”
a/k/a “El Troupial,” a/k/a “Tango Alpha,” a/k/a “T.E.A.,” JOSELIT

RAMTIREYZ CAMACHO, a/k/a “J.L.," a/k/a “Jose Lit,” and SAMARK JOSE

23

 
Case 1:19-cr-00144-AKH Document 67 Filed 03/13/20 Page 24 of 30

LOPEZ BELLO, a/k/a “Samark Lopez Delgado,” a/k/a “Sierra Lima,”
the defendants, at least one of whom is expected to be first
brought to and arrested in the Southern District of New York,
willfully engaged, attempted to engage, and aided, abetted, and
caused others to engage and attempt to engage in transactions and
dealings by one or more United States persons who were officers,
directors, and agents of an entity -- to wit, an agent of American
Charter Services LLC -- and within the United States, that ewaded
and avoided, and had the effect of evading and avoiding, one or
more of the prohibitions contained in the Kingpin Act.
{Title 21, United States Code, Sections 1904(c) (2) and
1906{a) (2); Title 18, United States Code, Sections 3238 and 2;

and Title 31, Code of Federal Regulations, Section 598.204.)

COUNT SEVEN

{Prohibited Transactions in Violation of the Kingpin Act and
the Kingpin Act Regulations)

The Grand Jury further charges:

43. The allegations contained in paragraphs 1 through
20 and 24 of this Superseding Indictment are hereby repeated,
realleged, and incorporated by reference as if fully set forth
herein.

44, From at least in or about February 2017, up to and
including in or about March 2019, in the Southern District of New

York, Venezuela, Turkey, Russia, the Dominican Republic, and

24

 

 
Case 1:19-cr-00144-AKH Document 67 Filed 03/13/20 Page 25 of 30

elsewhere, and in an offense begun and committed out of the
jurisdiction of any particular State or district of the United
States, TARECK ZAIDAN EL AISSAMI MADDAH, a/k/a “Tareck El Aissami,”
a/k/a “El Troupial,” a/k/a “Tango Alpha,” a/k/a “T.E.A.,” JOSELIT
RAMIREZ CAMACHO, a/k/a “J.L.,"” a/k/a “Jose Lit,” and SAMARK JOSE
LOPEZ BELLO, a/k/a “Samark Lopez Delgado,” a/k/a “Sierra Lima,”
the defendants, at least one of whom is expected to be first
brought to and arrested in the Southern District of New York,
willfully engaged, attempted to engage, and aided, abetted, and
caused others to engage and attempt to engage in transactions and
dealings by a United States person who was an officer, director,
and agent of an entity -- to wit, an agent of SVMI Solution LLC -
- and within the United States, in property and interests in
property of one or more foreign persons designated as Specially
Designated Narcotics traffickers by the Secretary of the Treasury
pursuant to Title 21, United States Code, Section 1904(b), to wit,
EL AISSAMI MADDAH and LOPEZ BELLO.
(Title 21, United States Code, Sections 1904{c}(1)-(2) and
1906(a) (2); Title 18, United States Code, Sections 3238 and 2;

and Title 31, Code of Federal Regulations, Sections 598.203 (a)
and 598.406.)

25

 
Case 1:19-cr-00144-AKH Document 67 Filed 03/13/20 Page 26 of 30

COUNT EIGHT
(Evasion of the Kingpin Act and the Kingpin Act Regulations)

The Grand Jury further charges:

45. The allegations contained in paragraphs 1 through
20 and 24 of this Superseding Indictment are hereby repeated,
realleged, and incorporated by reference as if fully set forth
herein.

46. From at least in or about February 2017, up te and
including in or about March 2019, in the Southern District of New
York, Venezuela, Turkey, Russia, the Dominican Republic, and
elsewhere, and in an offense begun and committed out of the
jurisdiction of any particular State or district of the United
States, TARECK ZAIDAN EL AISSAMI MADDAH, a/k/a “Tareck El Aissami,”
a/k/a “El Troupial,” a/k/a “Tango Alpha,” a/k/a “T.E.A.,” JOSELIT
RAMIREZ CAMACHO, a/k/a “J.L.,” a/k/a “Jose Lit,” and SAMARK JOSE
LOPEZ BELLO, a/k/a “Samark Lopez Delgado,” a/k/a “Sierra Lima,”
the defendants, at least one of whom is expected to be first
brought to and arrested in the Southern District of New York,
willfully engaged, attempted to engage, and aided, abetted, and
caused others to engage and attempt to engage in transactions and
. dealings by a United States person who was an officer, director,
and agent of an entity -- to wit, an agent of SVMI Solution LLC -

- and within the United States, that evaded and avoided, and had

26

 

 
Case 1:19-cr-00144-AKH Document 67 Filed 03/13/20 Page 27 of 30

the effect of evading and avoiding, one or more of the prohibitions
contained in the Kingpin Act.
{Title 21, United States Code, Sections 1904(c) (2) and

1906(a) (2); Title 18, United States Code, Sections 3238 and 2;
and Title 31, Code of Federal Regulations, Section 598.204.)

FORFEITURE ALLEGATION
(As to Count Two)

 

47. As a result of committing the offense alleged in
Count Two of this Superseding Indictment, TARECK 4AIDAN EL AITSSAMI
MADDAH, a/k/a “Tareck El Aissami,” a/k/a “Ei Troupial,” a/k/a
“Tango Alpha,” a/k/a “T.E.A.,” and JOSELIT RAMIREZ CAMACHO, a/k/a
“J.L.,"% a/k/a “Jose Lit,” the defendants, shall forfeit te the
United States, pursuant to Title 18, United States Code, Section
98i(a){1)(C) and Title 28, United States Code, Section 2461, all
property, real and personal, that constitutes or is derived from
proceeds traceable to the commission of the offense alleged in
Count Two of this Superseding Indictment, including but not limited
to a sum of money representing the amount of proceeds obtained as
a result of the offense.

FORFEITURE ALLEGATION
{As to Count Three)

 

48. As a result of committing the money laundering
offense alleged in Count Three of, this Superseding Indictment,

TARECK ZAIDAN EL AISSAMI MADDAH, a/k/a “Tareck El Aissami,” a/k/a

27

 
Case 1:19-cr-00144-AKH Document 67 Filed 03/13/20 Page 28 of 30

“El Troupial,” a/k/a “Tango Alpha,” a/k/a “T.E.A.,” and JOSELIT
RAMIREZ CAMACHO, a/k/a “J.L.,” a/k/a “Jose Lit,” the defendants,
shall forfeit to the United States, pursuant to Title 18, United
States Code, Section 982, all property, real and personal, involved
in the money laundering offense and ail property traceable to such
property, including but not limited to, a sum of money representing
the amount of property that was involved in the money laundering
offense alleged in Count Three of this Superseding Indictment or
is traceable to such property.

Substitute Assets Provision

 

49, Tf any of the above-described forfeitable property,
as a result of any act or omission of the defendants:

a. cannot be located upon the exercise of due diligence;

28

 
Case 1:19-cr-00144-AKH Document 67 Filed 03/13/20 Page 29 of 30

b. has been transferred or sold to, or deposited with, a
third person;
c. has been placed beyond the jurisdiction of the court;
d. has been substantially diminished in value; or
é. has been commingled with other property which cannot
be subdivided without difficulty;
it is the intent of the United States, pursuant to Title 21,
United States Code, Section 853(p), to seek forfeiture of any
other property of said defendants up to the value of the above
forfeitable property.
(Title 18, United States Code, Sections 981, 982;

Title 21, United States Code, Section 853;
Title 28, United States Code, Section 2461.)

vom St.
OREPERSON

 

 

United Staves Attorney

28

 
Case 1:19-cr-00144-AKH Document 67 Filed 03/13/20 Page 30 of 30

 

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

UNITED STATES OF AMERICA
a

TARECK ZAIDAN EL AISSAMT MADDAH,
a/k/a “Tareck El Aissami,”
a/k/a “El Troupial,”
a/k/a “Tango Alpha,”
a/k/a “T.E.A.,*
JOSELIT RAMIREZ CAMACHO,
a/k/a “J.L.,”

a/k/a “Jose Lit,” and
SAMARK JOSE LOPEZ BELLO,
a/k/a “Samark Lopez Delgado,”
a/k/a “Sierra Lima,”

Defendants.

 

SUPERSEDING INDICTMENT

 

(21 U.S.C. §$§ 1904, 1906; 50 0.S.c. § 1705;
and 18 U.S.C. §§ 371, 1956, 3238, 2.)

GEOFFREY 5S. BERMAN
United States Attorney.

 

A TRUE BILL

L= SL. Foreperson,
True Bil Fea

SUPA SE din 8 Ta dichten
Pres Wiatrayk — OVX

   

 
